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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexaodria Division

DISH NETWORK L.L.C, et al. )
Plaintiffs, )
) Case No. l:lS-cv-706
v. )
)
IMRAN BUTT, et al. )
Defendants. )
)
M

Upon consideration of the September 15, 2016 Report and Recommendation and the
January 6, 2017 Supplemental Report and Recommendation of the United States Magistrate
Judge, no objections having been tiled, and upon an independent de novo review of the record,

It is hereby ORDERED that the Court ADOPTS as its own the findings of fact and
recommendation of the United States Magistrate Judge, as set forth in the September 15, 2016
Report and Recornrnendation and the January 6, 2017 Supplemental Report and
Recommendation.

Accordingly, it is further ORDERED that judgment is ENTERED by default in favor of
plaintiffs MSM Asia Ltd., Viacom18 Media Private Limited, and Star India Private Ltd., and
against defendants, Imran Butt and Naeem Butt, for statutory copyright damages under 17 U.S.C.
§ 504(0)(1)-(2) in the amount of (1) $23,850,000 for plaintiff MSM Asia Ltd., consisting of
$150,000 for each of its 159 registered works; (2) $1,350,000 for plaintiff Viacom18 Media
Private Limited, consisting of $150,000 for each of its nine registered works; and (3) $450,000

for plaintiff Star India Private Ltd., consisting of $150,000 for each of its three registered works.

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It is further ORDERED that defendants Imran Butt and Naeem Butt are
PERMANENTLY ENJOINBD from further infringing on plaintiffs Al Jazeera Media
Network, Asia TV USA Ltd., B4U U.S., Inc., GEO USA LLC, Impress Teleiilm, lnc., MBC FZ
LLC, MSM Asia Ltd., So\mdview Broadcasting LLC, Soundview A'I'N LLC, Star India Private
Ltd., Viacom18 Media Private Limitcd, and DISH Network L.L.C.’s exclusive rights in their
copyrights and trademarks

The Clerk is D!RECTED to enter judgment in accordance with this Order, pursuant to
Rule 58, Fed. R. Civ. P., and to place this matter among the ended causes.

'l'he Clerk is further DIRECTED to send a copy of this Judgment Order to the Magistrate
Iudge, all counsel of record, and defendants at the following addresses:

lmran Bun

52 West Park Avenue

Bradford, Ontario, L32 0A4

Canada

Naeem Butt

16 Peridot Road

Brampton, Ontario, L6P 025

Canada

Naeem Butt

2600 Finch Avenue West, #Sl$ `

North York, Ontario, M9M 264

Canmia

Alexandria, Virginia
January 24, 2017

 

 

T. S. Bllis, III
United States Dis i<.'t Judge

